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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

   NETLIST, INC.,                        )
                                         )
         Plaintiff,                      )         Civil Action
                                         )         No. 2:22-cv-00203-JRG
                 vs.                     )
                                         )         JURY TRIAL DEMANDED
   MICRON TECHNOLOGY, INC.; MICRON       )
   SEMICONDUCTOR PRODUCTS, INC.;         )
   MICRON TECHNOLOGY TEXAS LLC,          )
                                         )
         Defendants.                     )
                                         )


            DECLARATION OF MATTHEW HOPKINS IN SUPPORT OF
     DEFENDANTS’ MOTION TO STAY PENDING RESOLUTION OF INTER PARTES
                   REVIEW OF THE ASSERTED PATENTS
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  I, Matthew Hopkins, declare as follows:

     1. I am an attorney at the law firm of Winston & Strawn LLP, counsel of record for

  Defendants’ Micron Technology, Inc., Micron Semiconductor Products, Inc. and Micron

  Technology Texas LLC (Collectively “Micron) in the above-captioned action. I am a member in

  good standing of the State Bar of District of Columbia and have been admitted to practice pro hac

  vice before this Court in this action. I provide this declaration in support of Micron’s Motion to

  Stay Pending Resolution of Inter Partes Review of the Asserted Patents. I have personal

  knowledge of the facts stated herein, and could and would testify completely thereto if called as a

  witness in this matter.

     2. Attached as Exhibit A is a true and correct copy of the Decision Granting Institution of

  Inter Partes Review and Granting Motion for Joinder in IPR2023-00205 dated March 17, 2023.

         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.

         Executed on May 19, 2022, in McLean, Virginia.



                                                        By /s/ Matthew Hopkins
                                                        Matthew Hopkins




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